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 KENJI M. PRICE                 #10523
 United States Attorney
 District of Hawaii

 RONALD G. JOHNSON               #4532
 GREGG PARIS YATES               #8225
 Assistant United States Attorneys
 Room 6-100, PJKK Federal Building
 300 Ala Moana Boulevard
 Honolulu, Hawaii 96850
 Telephone: (808) 541-2850
 Fax:        (808) 541-2958
 E-Mail:     Ron.Johnson@usdoj.gov
             Gregg.Yates@usdoj.gov

 Attorneys for Plaintiff
 UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,               )   CR. NO. 17-00101 LEK
                                         )
          Plaintiff,                     )   UNITED STATES’S RESPONSE TO
                                         )   DEFENDANT’S MOTION FOR
    vs.                                  )   RETURN OF PROPERTY;
                                         )   CERTIFICATE OF SERVICE
 ANTHONY T. WILLIAMS,                    )
                                         )
          Defendant.                     )
                                         )
                                         )

                   UNITED STATES’S RESPONSE TO
            DEFENDANT’S MOTION FOR RETURN OF PROPERTY

       Pursuant to Rule 41(g) of the Federal Rules of Criminal Procedure (Fed. R.

 Crim. Proc.), the government respectfully responds to Defendant’s Motion for
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 Return of Property. In short, Defendant seeks the return of “all property that is not

 contraband,” in particular his “iphones, scanners, printers, computers, laptops,

 music cd’s, audio cd’s of religious lectures, dvd’s of religious lectures, file

 cabinets, client files, personal files, business files and a plethora of miscellaneous

 office equipment, supplies and items.” Motion for Return of Property Exh. A

 (Williams Mem. Pts. Auth.) at 1, ECF No. 398-2. Defendant argues that he is

 entitled to the return of the seized items because: (1) they are “not relevant to the

 instant charges and the government has no need or compelling interest to continue

 to hold [his] personal property,” and because (2) he “has not be[en] indicted.” Id.

       The defendant’s motion is baseless and must be denied: contrary to the

 defendant’s assertion otherwise, a Federal grand jury has returned both an

 Indictment and Superseding Indictment against the defendant based upon

 investigations by the Federal Bureau of Investigations (FBI). The FBI seized the

 paper, digital, and physical evidence in connection with its investigations into the

 mortgage fraud scheme or artifice perpetrated by the defendant and his company,

 first in Miami, Florida and then in Honolulu, Hawaii. The latter investigation gave

 rise to this prosecution, and evidence from both investigations is relevant to it.




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                                  BACKGROUND

       On November 8, 2015, Anthony Williams was arrested by the Broward

 County Sheriff’s Department in Miami, Florida pursuant to a Florida state arrest

 warrant as he disembarked from an airplane. As relevant to this motion, at the time

 of his arrest, a law enforcement officer seized from the defendant’s person two

 iPhone cellular telephones, a laptop computer, three storage drives, and a black CD

 case containing 46 CDs. These items were turned over to the FBI on November

 24, 2015, and logged into evidence.

       Based upon that investigation, prosecutors in Florida charged the defendant

 in the Broward County Circuit Court with four counts of Florida state violations

 relating to mortgage fraud, including one count of grand theft against Bank of

 America. Memorandum in Opposition to Motion to Dismiss Exh. 1, ECF No. 309-

 1 (Broward County Circuit Court Warrant to Arrest). The defendant was

 convicted, and judgment entered on June 23, 2017. Mem. In Supp. Mot. Detain

 Def. Without Bail Exh. A, ECF No. 34-1 (June 23, 2017 Judgment). As a result of

 that prosecution and conviction, the FBI discontinued its Miami investigation.

       On December 15, 2015, FBI agents executed search warrants on two houses

 in the District of Hawaii owned by co-defendant Anabel Cabebe. Defendant

 Anthony Williams operated his company, Mortgage Enterprises, Inc., at one of the

 houses on 1604 Democrat Street. During these operations, FBI agents seized one


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 laptop computer and two phones belonging to co-defendant Cabebe, two older flip-

 phones and two computer peripherals belonging to Anthony Williams, and one

 desktop computer belonging to a third-party. A Federal grand jury returned an

 indictment against defendant Antony Williams on February 15, 2017. ECF No. 1.

                                    ARGUMENT

 I.    Legal Standard

       Fed. R. Crim. Proc. Rule 41(g) governs the return of property seized

 pursuant to a warrant:

              A person aggrieved by an unlawful search and seizure of
              property or by the deprivation of property may move for
              the property’s return. The motion must be filed in the
              district where the property was seized. The court must
              receive evidence on any factual issue necessary to decide
              the motion. If it grants the motion, the court must return
              to the movant, but may impose reasonable conditions to
              protect access to the property and its use in later
              proceedings.

       For the purposes of Rule 41(g), a “person aggrieved by an unlawful search

 or seizure” or “by the deprivation” of property is a person with a “proprietary or

 possessory interest in the seized property.” United States v. Colacurcio, 499 F.2d

 1401, 1406 (9th Cir. 1974), citing Brown v. United States, 411 U.S. 223 (1972).

 The person from whom property is seized bears the burden to prove that s/he is

 entitled to lawful possession of the property. United States v. Martinson, 809 F.2d

 1364, 1369 (9th Cir. 1987).


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       Generally, a Rule 41(g) motion is properly denied “if the defendant is not

 entitled to lawful possession of the seized property, the property is contraband or

 subject to forfeiture, or the government’s need for the property as evidence

 continues.” United States v. Mills, 991 F.2d 609, 612 (9th Cir. 1993) (construing

 former Rule 41(e)). “[R]easonableness under all of the circumstances must be the

 test when a person seeks to obtain the return of property.” Fed. R. Crim. P. 41(g)

 advisory committee’s note to 1989 amendment. “[I]f the United States has a need

 for the property in an investigation or prosecution, its retention of property is

 generally reasonable.” Id. Therefore, after indictment, an item of property should

 only be subject to Rule 41(g) if it is not pertinent to the ongoing prosecution.

 II.   The Defendant Is Not Entitled To The Return Of Property Seized As
       Part Of The Investigation And That Is Relevant To This Prosecution

       The defendant’s motion should be denied because the evidence at issue was

 seized as part of an investigation and the evidence is relevant to an ongoing

 prosecution. The defendant has failed to meet his burden to show that he is

 entitled to the return of the subject property.

       A. The Evidence Seized In Miami Is Relevant To This Prosecution

       The evidence in this case is relevant to the ongoing prosecution because it

 supports a single fraudulent scheme or artifice to defraud homeowners with

 mortgages on their homes and financial institutions, as shown by the attached

 exhibits. The evidence in this case was seized in connection with two parallel

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 investigations: (1) the FBI and the Broward County Sheriff’s Department

 investigation in Miami, Florida, and (2) the FBI’s investigation in Honolulu,

 Hawaii. The evidence seized in connection with the Hawaii investigation should

 not be at issue here, as the defendant appears to focus on property that was seized

 “prior to his arrest,” which happened on November 8, 2015 in connection with the

 Miami investigation. Williams Mem. Pts. Auth. 1.

       The evidence seized in the Miami investigation is relevant to the instant

 prosecution in the District of Hawaii because it shows that the defendant engaged

 in the same fraudulent scheme or artifice in Miami that he was in Honolulu. The

 Superseding Indictment alleged, among other things, the scheme supporting the

 mail and wire fraud charges:

              From in or about May 2013, to and including December
              2016, Defendant, Anthony T. Williams, on behalf of MEI
              and CLOA, falsely told potential clients, that through
              MEI and CLOA, he could cut their mortgage balances by
              one-half, cut their monthly mortgage payments by one-
              half, and reduce the current mortgage loan pay-off terms
              by one-half. In truth and fact, MEI, Anthony T.
              Williams, and Barbara Williams, did not hold licenses or
              have the ability to provide a new mortgage, service a pre-
              existing mortgage, or provide loan modification services
              to the homeowners.

 Superseding Indictment ¶ 12, ECF No. 154.

       The attached documents show that the defendant Anthony Williams signed

 the same agreements to defraud mortgage-holding homeowners in Miami and


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 Honolulu. Compare Exhibit A at 1 (“MEI Homeowner Service Agreement,”

 signed by Anthony Williams and Evelyn Subia, bearing State of Hawaii notary

 stamp), with Exhibit B at 1 (“Agreement,” signed by Anthony Williams and

 Caridad Marquez, bearing Florida notary stamp). Both agreements make the same

 promise: “what Mortgage Enterprise Investments (“MEI”) guarantees is the ability

 to file on my behalf, the (“Homeowner”) and secure a Mortgage Service Payment

 (“MSP”) fee that is half of what my current mortgage payment is.” Id. Moreover,

 the homeowner victims sent their checks to the same address in Killeen, Texas.

 Compare Exhibit A at 2 (letter addressed to “Mortgage Enterprise Investments,

 P.O. Box 1215, Killeen, TX (76540)”), with Exhibit B at 2 (letter addressed to

 “MEI, P.O. Box 1215, Killeen, TX 76540”).

       The FBI initially took the position that its investigation in Miami was to be

 treated separately from its investigation in Honolulu, and the United States

 Attorney’s Office for the Southern District of Florida considering prosecution of

 the defendant in their district. Accordingly, much of the evidence from the Miami

 investigation was not included in the initial discovery production in the case in this

 District because it was understood that Miami evidence would be produced to

 defendant in discovery in connection with a Federal prosecution in Miami.

 However, as the local prosecutor in Broward County pursued Florida state charges

 based upon the defendant’s conduct in Miami, and the U.S. Attorney’s Office for


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 this District brought Federal charges against the defendant in Hawaii, the U.S.

 Attorney’s Office in Miami declined prosecution. This office was notified in

 approximately September of 2018. Because the evidence seized in Miami was no

 longer being produced to the defendant, the government has endeavored to collect

 the evidence from the FBI’s Miami investigation and produce them to defendant in

 discovery in this proceeding.

       Insofar as the defendant’s conduct in Miami and Honolulu might be

 considered part of the same fraudulent scheme or artifice, it is relevant to the mail

 and wire fraud charges in the Superseding Indictment. As they are relevant to the

 Superseding Indictment, the seized items should not be returned to the defendant

 until the property in question is no longer needed for evidentiary purposes and the

 government no longer has any legitimate reason to retain the property. Martinson,

 809 F.2d at 1369.

       B. The Defendant’s Motion Is Baseless

       The defendant fails to meet his burden to prove that he is entitled to the

 return of property. The defendant’s first premise that he has not been indicted is

 nonsensical. A Federal grand jury returned a thirty (30) count Indictment against

 him and co-defendant Anabel Cabebe on February 15, 2017. ECF No. 1. The

 defendant twice attempted to attack this Indictment and have it dismissed. ECF

 Nos. 37 and 38. Both times, the Court denied the defendant’s motions. ECF No.


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 104. On March 28, 2018, the grand jury returned a thirty-two (32) count

 Superseding Indictment against the defendant Anthony Williams and co-defendant

 Cabebe, and joined co-defendant Barbara Williams. ECF No. 154. The defendant

 then moved to dismiss the Superseding Indictment. ECF No. 294. The Court

 denied the defendant’s motion to dismiss. ECF No. 330. This prosecution is

 ongoing.

       The defendant’s second premise that the evidence seized by the FBI in

 Miami is unrelated to the FBI’s investigation in Honolulu and the charges in the

 Superseding Indictment is similarly baseless. The defendant broadly demands “all

 property that is not contraband” and his “iphones, scanners, printers, computers,

 laptops, music cd’s, audio cd’s of religious lectures, dvd’s of religious lectures, file

 cabinets, client files, personal files, business files and a plethora of miscellaneous

 office equipment, supplies and items.” Williams Mem. Pts. Auth. at 1. The

 defendant’s demand relies solely upon a conclusory declaration that “[n]one of

 these items are relevant to the instant charges.” This does not meet the defendant’s

 burden of proving his entitlement to the return of property. As noted above, the

 investigation into the defendant’s mortgage fraud conduct in Florida is relevant to

 this prosecution because it represents the same fraudulent scheme or artifice as has

 been charged in the Superseding Indictment. The defendant possessed and utilized

 the computer and cellphone equipment that he wants returned during the time he


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 was conducting the fraudulent activity in both Miami and Honolulu, that is, the

 period covered by the Superseding Indictment. Accordingly, the equipment is

 relevant to this prosecution and should not be returned.

                                   CONCLUSION

       In light of the foregoing, the government respectfully requests that

 Defendant’s motion for return of property be denied.

              DATED: January 17, 2019, at Honolulu, Hawaii.

                                                KENJI M. PRICE
                                                United States Attorney
                                                District of Hawaii


                                                By /s/ Gregg Paris Yates
                                                  GREGG PARIS YATES
                                                  Assistant U.S. Attorney




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                           CERTIFICATE OF SERVICE

              I hereby certify that, on the dates and by the methods of service noted

 below, a true and correct copy of the foregoing was served on the following by the

 method indicated on the date of filing:

 Served Electronically through CM/ECF:

       Lars Isaacson, Esq.
       hawaii.defender@earthlink.net

       Attorney for Defendant
       ANTHONY T. WILLIAMS


       Michael Jay Green, Esq.
       michaeljgreen@hawaii.rr.com

       Attorney for Defendant
       ANABEL CABEBE


       Birney B. Bervar
       bbb@bervar-jones.com

       Attorney for Defendant
       BARBARA WILLIAMS


 Defendant to be served by First Class Mail on or before January ____, 2019:

       Anthony T. Williams
       Register No. 05963-122
       Inmate Mail
       FDC Honolulu
       PO Box 30080
       Honolulu, HI 96820
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             DATED: January 17, 2019, at Honolulu, Hawaii.


                                            /s/ Gregg Paris Yates
                                            U.S. Attorney’s Office
                                            District of Hawaii




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